      Case 1:22-cv-00049-MAB Document 32-1      Filed 08/16/22    Page 1 of 54
                             NON-CONFIDENTIAL VERSION



               UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
_____________________________________________
                                              )
VIETNAM FINEWOOD COMPANY LIMITED,             )
FAR EAST AMERICAN, INC. AND                   )
LIBERTY WOODS INTERNATIONAL, INC.,            )
                                              )
                  Plaintiffs,                 )
          and                                 ) Consol. Ct. No. 22-00049
                                              )
INTERGLOBAL FOREST LLC,                       )
                                              ) NON-CONFIDENTIAL VERSION
                  Consolidated Plaintiff      )
         v.                                   )
                                              )
UNITED STATES,                                )
                                              )
                  Defendant,                  )
         and                                  )
                                              )
COALITION IN FAIR TRADE IN                    )
HARDWOOD PLYWOOD,                             )
                                              )
                  Defendant-Intervenor        )
                                              )


            PLAINTIFFS RULE 56.2 MEMORANDUM IN SUPPORT OF MOTION

                         FOR JUDGMENT UPON THE AGENCY RECORD



                                           Gregory S. Menegaz
                                           J. Kevin Horgan
                                           Judith L. Holdsworth
                                           Alexandra H. Salzman
                                           Vivien J. Wang
                                           DEKIEFFER & HORGAN, PLLC
                                           Suite 410
                                           1090 Vermont Ave., N.W. 20005
                                           Tel: (202) 783-6900
                                           email: gmenegaz@dhlaw.com
Dated: August 15, 2022                     Counsel to Plaintiffs Finewood, FEA, Liberty
       Case 1:22-cv-00049-MAB Document 32-1                                   Filed 08/16/22             Page 2 of 54
                                       NON-CONFIDENTIAL VERSION



                                             TABLE OF CONTENTS


I.     RULE 56.2 STATEMENT ...............................................................................................1

       A.       Administrative Determinations Subject to Appeal ...............................................1

       B.       Issues Presented ....................................................................................................2

II.      STANDARD OF REVIEW ...........................................................................................2

                     Substantial Evidence Standard .........................................................................2

                    Arbitrary and Capricious Standard ...................................................................3

III.     STATEMENT OF FACTS ............................................................................................3

       A.       Scope of the Hardwood Plywood Orders..............................................................3

       B.       Finewood’s Two-Ply Panels .................................................................................4

       C.       Procedural Background .........................................................................................5

IV.      SUMMARY OF ARGUMENT .....................................................................................9

V.       ARGUMENT ...............................................................................................................10

       A.       Two-Ply Panels Finewood Purchased From China Are Not Subject
                Merchandise ........................................................................................................10

                        1. Legal Standard for Scope Determination ..............................................10

                        2. Two-Ply Raw Materials for Plywood Construction Are Not
                          Subject To the Orders Based on the Plain Language of the
                          Hardwood Plywood Orders. ..................................................................11

                        3. Commerce Erred In Its (k)(1) Analysis. .............................................14

                                a. The Petition and Revisions to the Scope Language Prior
                                   to Initiation and Commerce’s Preliminary Scope Memo
                                   in the Investigation......................................................................15

                                b. Commerce Did Not Investigate Two-Ply In the AD
                                   Investigation................................................................................19

                                c. The ITC Did Not Investigate Two-Ply Panels. ...........................21



                                                                i
      Case 1:22-cv-00049-MAB Document 32-1                                 Filed 08/16/22             Page 3 of 54
                                    NON-CONFIDENTIAL VERSION



                              d. Commerce Improperly Rejected Plaintiffs’ Citation to
                                 (k)(1) Materials ...........................................................................24

                      4. Commerce’s Substantial Transformation Analysis is
                        Unnecessary. ...........................................................................................27

         B. Country of Origin of Finished Hardwood Plywood. ..........................................28

                      1. Legal Standard for Substantial Transformation Analysis ....................28

                      2. Class or Kind Criterion Should Be Given No Weight Based on
                         Facts In This Case. ................................................................................29

                      3. The Product Properties, The Essential
                         Components/Characteristics of the Merchandise, and Intended
                         End-Use of the Finished Product Were Imparted in the Third
                         Country, i.e., Vietnam ...........................................................................30

                      4. The Nature and Sophistication of Processing in Vietnam
                         Weighs In Favor of A Finding of Substantial Transformation. ............34

                      5. Finewood’s Value-Added in Vietnam is Substantial.. ..........................39

                      6. The Level of Investment Factor Weighs In Favor of Finding
                         Substantial Transformation ...................................................................44

VI.    CONCLUSION ............................................................................................................47




                                                             ii
          Case 1:22-cv-00049-MAB Document 32-1                                          Filed 08/16/22               Page 4 of 54
                                               NON-CONFIDENTIAL VERSION



                                                   TABLE OF AUTHORITIES


CASES

Albemarle Corp. & Subsidiaries v. United States, 821 F.3d 1345 (Fed. Cir. 2016)......................40

Allegheny Ludlum Corp. v. United States, 112 F. Supp. 2d 1141, 1165 (2000) .......................... 2-3

Arnold P'ship v. Dudas, 362 F.3d 1338 (Fed. Cir. 2004) ................................................................3

Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556 (Fed. Cir. 1984) ............................................2

Bell Supply Co., LLC v. United States, 348 F. Supp. 3d 1281 (Ct. Int’l Trade 2019) .......28, 31, 46

Bell Supply Co., LLC v. United States, 393 F. Supp. 3d 1229 (Ct. Int’l Trade 2019) ....... 28, 29-30

Boen Hardwood Flooring, Inc. v. United States, 357 F.3d 1262 (Fed. Cir. 2004) ........................13

Diversified Products Corp. v. United States, 572 F. Supp. 883, 888 (1983) ...................................2

Duferco Steel, Inc. v. United States, 296 F.3d 1087 (Fed. Cir. 2002) ...........................................10

Fedmet Res. Corp. v. United States, 755 F.3d 912 (Fed. Cir. 2014) .............................................10

King Supply Co. v. United States, 674 F.3d 1343 (Fed. Cr. 2012)) ..............................................10

Linyi Chengen Imp. & Exp. Co. v. United States, 487 F. Supp. 3d 1349 (Ct Int’l Trade
2020) ..............................................................................................................................................41

Linyi Chengen Imp. & Exp. Co. v. United States, 539 F. Supp. 3d 1269 (Ct. Int'l Trade
2021) ..............................................................................................................................................40

Maquilacero S.A. De C.V. v. United States, 256 F. Supp. 3d 1294 (Ct. Int'l Trade
2017) ..............................................................................................................................................23

Maverick Tube Corp. v. United States, 107 F. Supp. 3d 131 (Ct. Int’l Trade 2015) .....................19

MCC Holdings v. United States, 537 F. Supp. 3d 1350 (Ct. Int'l Trade 2021) ....................... 22-23

Meridian Prods., LLC v. United States, 890 F.3d 1272 (Fed. Cir. 2018) .......................... 25-26, 27

Midwest Fastener Corp. v. United States, 494 F. Supp. 3d 1335 (Ct. Int'l Trade 2021) ...............27

Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983).........................3

Peer Bearing Co. – Changshan v. United States, 128 F. Supp. 3d 1266 (Ct. Int’l Trade


                                                                         iii
          Case 1:22-cv-00049-MAB Document 32-1                                          Filed 08/16/22               Page 5 of 54
                                               NON-CONFIDENTIAL VERSION



2015) ..................................................................................................................................30, 31, 43

Saha Thai Steel Pipe Pub. Co. v. United States, 547 F. Supp. 3d 1278 (Ct. Int'l Trade
2021) ..............................................................................................................................................26

Star Pipe Prods. v. United States, 365 F. Supp. 3d 1277 (Ct. Int'l Trade 2019) ...........................22

TMB 440AE, Inc. v. United States, 399 F. Supp. 3d 1314 (Ct. Int’l Trade 2019) .........................26

Universal Camera Corp. v. NLRB, 340 U.S. 474 (1951) ................................................................2

Walgreen Co. v. United States, 620 F.3d 1350 (Fed. Cir. 2010) ...................................................10

Whirlpool Co. v. United States, 890 F.3d 1302 (Fed. Cir. 2018) ..................................................10



STATUTES

19 U.S.C. § 1516a(b)(1)(B)(i)..........................................................................................................2

19 U.S.C. § 1677(10) .....................................................................................................................22

19 U.S.C. § 1677j(b) ......................................................................................................................27



REGULATIONS

19 CFR § 351.225(k)(1)......................................................................................................... passim

19 C.F.R. § 351.225(k)(2)..........................................................................................................8, 11

ADMINISTRATIVE DECISIONS

Certain Hardwood Plywood Products from the People’s Republic of China: Amended
Final Determination of Sales at Less Than Fair Value and Antidumping Duty Order,
83 Fed. Reg. 504 (Dep’t Commerce Jan. 4, 2018) ...................................................... 1, 3-4, 11, 13

Certain Hardwood Plywood Products from the People’s Republic of China,
Countervailing Duty Order, 83 Fed. Reg. 513 (Dep’t Commerce Jan. 4, 2018) ..................... 1, 3-4

Certain Hardwood Plywood From the People’s Republic of China: Notice of Covered
Merchandise Referral and Initiation of Scope Inquiry, 85 Fed. Reg. 3024 (Dep’t
Commerce Jan. 17, 2020) ................................................................................................................5




                                                                         iv
         Case 1:22-cv-00049-MAB Document 32-1                                 Filed 08/16/22           Page 6 of 54
                                         NON-CONFIDENTIAL VERSION



Certain Hardwood Plywood Products From the People’s Republic of China: Final
Results of Antidumping Duty Administrative Review; 2017-2018, 85 Fed. Reg. 77,157
(Dep’t Commerce Dec. 1, 2020) ....................................................................................................40

Hardwood Plywood from China, Inv. Nos. 701-TA-565 & 731-TA-1341, USITC Pub.
4747, 2017 ITC LEXIS 1583, *16-17 & *98 (Dec. 2017) ............................................................22

Tapered Roller Bearings and Parts Thereof, Finished and Unfinished, from the
People's Republic of China: Final Results of the 2007-2008 Administrative Review of
the Antidumping Duty Order, 75 Fed. Reg. 844 (Dep’t Commerce Jan. 6, 2010) ........................29

Second Redetermination Pursuant to Court Remand Order in Bell Supply Co., LLC v.
United States, Ct, No. 14-00066 (Dep’t Commerce Aug. 11, 2016) ....................................... 41-42




                                                                 v
       Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22      Page 7 of 54
                               NON-CONFIDENTIAL VERSION



       Plaintiffs Vietnam Finewood Company Limited (“Finewood”), Far East American, Inc.

(“FEA”), and Liberty Woods International, Inc. (Liberty) submit this Memorandum of Law in

support of their Motion for Judgement on the Administrative Record pursuant to Rule 56.2 of the

Rules of this Court.

I.     RULE 56.2 STATEMENT

     A.    Administrative Determinations Subject to Appeal

       Plaintiffs seek judicial review of the U.S. Department of Commerce’s (“Commerce”)

final scope ruling finding that Chinese two-ply that consists of two sheets of core veneers bonded

by glue purchased by Finewood is within the scope of the antidumping (“AD”) and

countervailing duty (“CVD”) orders on certain hardwood plywood from the People’s Republic of

China. See Certain Hardwood Plywood Products from the People’s Republic of China, 83 Fed.

Reg. 504 (January 4, 2018) (“AD Order”); see also Certain Hardwood Plywood Products from

the People’s Republic of China, 83 Fed. Reg. 513 (January 4, 2018) (“CVD Order”)

(collectively, the “Orders”). Plaintiffs further contest Commerce’s determination that finished

hardwood plywood produced by Finewood in Vietnam that incorporates such two-ply and other

individual veneers were not substantially transformed into a product of Vietnam.

       The challenged determination, findings, and conclusions are set out in Commerce’s

unpublished memorandum, Dep’t Commerce, Memorandum re: Antidumping Duty and

Countervailing Duty Orders on Certain Hardwood Plywood Products from the People’s

Republic of China, Enforcement and Protect Act (EAPA) Investigation No. 7252: Final Scope

Ruling (Jan. 21, 2022), P.R.1141, C.R.135, (“Final Scope Ruling”).


1
 Plaintiffs reference the Antidumping Public Record, ECF No. 23-1, as “P.R.”, and the Antidumping
Confidential Record as “C.R.”, ECF No. 23-2.


                                                 1
        Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 8 of 54
                               NON-CONFIDENTIAL VERSION



       B.   Issues Presented

            1.     Issue One: Commerce’s Scope Ruling that Finewood’s two-ply panels

purchased from China is covered by the scope of the Hardwood Plywood Orders, based on the

plain scope language and the (k)(1) factors, is unsupported by substantial evidence, arbitrary and

capricious, and contrary to law.

            2.     Issue Two: Commerce’s substantial transformation analysis finding that

Finewood’s two-ply panels were not substantially transformed in Vietnam by Finewood’s

production of finished hardwood plywood was not supported by record evidence and contrary to

law.

II.     STANDARD OF REVIEW

Substantial Evidence Standard

        The Court holds unlawful any aspect of Commerce’s final determination that is

“unsupported by substantial evidence on the record, or otherwise not in accordance with law.”

19 U.S.C. § 1516a(b)(1)(B)(i). “Substantial evidence” must be measured by a review of the

record as a whole, “including whatever fairly detracts from the substantiality of the evidence.”

Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556, 1562 (Fed. Cir. 1984). Thus, “it is

appropriate to set aside the ITA’s decision when the court ‘cannot conscientiously find that the

evidence supporting that decision is substantial, when viewed in the light that the record in its

entirety furnishes, including the body of evidence opposed to [its] view.’” Diversified Products

Corp. v. United States, 6 CIT 155, 161, 572 F. Supp. 883, 888 (1983) (quoting Universal

Camera, 340 U.S. at 488). Further, “Commerce’s total failure to consider or discuss record

evidence which, on its face, provides significant support for an alternative conclusion renders the




                                                 2
        Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22      Page 9 of 54
                                NON-CONFIDENTIAL VERSION



Department’s determination unsupported by substantial evidence.” Allegheny Ludlum Corp. v.

United States, 112 F. Supp. 2d 1141, 1165 (2000).

Arbitrary and Capricious Standard

        “Normally, an agency rule would be arbitrary and capricious if the agency has relied on

factors which Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983 (citations omitted). An abuse of discretion occurs where the decision is based

on an erroneous interpretation of the law, on factual findings that are unsupported by substantial

evidence, or represents an unreasonable judgment in weighing relevant factors. Arnold P’ship v.

Dudas, 362 F.3d 1338, 1340 (Fed. Cir. 2004).

III.    STATEMENT OF FACTS

       A.   Scope of the Hardwood Plywood Orders

        Commerce issued the Hardwood Plywood Orders on January 4, 2018. See AD Order, 83

Fed. Reg. 504; CVD Order, 83 Fed. Reg. 513. In the Hardwood Plywood Orders, Commerce

defined the scope as follows:

        The merchandise subject to this investigation is hardwood and decorative
        plywood, and certain veneered panels as described below. For purposes of this
        proceeding, hardwood and decorative plywood is defined as a generally flat,
        multilayered plywood or other veneered panel, consisting of two or more
        layers or plies of wood veneers and a core, with the face and/or back veneer
        made of non-coniferous wood (hardwood) or bamboo. The veneers, along with
        the core may be glued or otherwise bonded together. Hardwood and decorative
        plywood may include products that meet the American National Standard for
        Hardwood and Decorative Plywood, ……

        ……


                                                 3
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22      Page 10 of 54
                                NON-CONFIDENTIAL VERSION



AD Order, 83 Fed. Reg. at 512; CVD Order, 83 Fed. Reg. at 515 (Emphasis Supplied).

     B.    Finewood’s Two-Ply Panels

       The Chinese-origin two-ply panels that Finewood purchased as a raw material for its

plywood production consisted of two layers of core veneers glued together. See Finewood

Questionnaire Response at 9-10 (Apr. 9, 2020) (“Finewood QR”), P.R.26, C.R.3. As Finewood

described, its plywood is produced from core veneers, where the core veneers are glued together

to form a core platform, with the face and back veneers attached to the core platform to form the

completed plywood. Id. Finewood never used only a single two-ply as the core to produce

plywood. Id. To achieve the desired thickness, Finewood glued multiple two-ply panels to form

the core platform before applying the face and back veneers; or did not consume the two-ply at

all, producing plywood from individual face, back and core veneers. Critically, “[s]ince the 2-

ply performed the same function as individual core veneers, Finewood used it the same way as it

would use other core veneers… 2-ply goes through all the inspection, gluing, repairing, and

pressing processes as other veneer until the result is the core itself. The finished cores then

undergo puttying and sanding processes before the face/back veneers enter such processes to be

bound to the core and finished into plywood through additional processes such as trimming,

sanding, pressing, UV coating, etc.” Id.

       Finewood never sold any two-ply panels to the United States. The only product

Finewood sold to the United States was finished hardwood plywood consisting of at least three

plies. As discussed below, Finewood’s two-ply panels are intermediate raw material products

and completely different than finished plywood. Hardwood plywood, including Finewood’s

hardwood plywood exported to the United States, is sold on the basis of grade, type of core,

overall panel thickness, face species, and type of glue used. In contrast, the two-ply panels that


                                                  4
      Case 1:22-cv-00049-MAB Document 32-1              Filed 08/16/22     Page 11 of 54
                              NON-CONFIDENTIAL VERSION



Finewood purchased exhibit none of the essential characteristics of finished hardwood plywood

and can only reasonably be characterized as semi-finished raw materials.

     C.     Procedural Background

         On August 15, 2018, U.S. Customs and Border Protection (“Customs” or “CBP”)

initiated an evasion investigation conducted under the Trade Facilitation and Trade Enforcement

Act of 2015, commonly referred to as the “Enforce and Protect Act” or “EAPA,” against

Plaintiff Finewood and its U.S. customers including Plaintiffs FEA and Liberty. See Dep’t

Commerce, Memorandum to File: Placement of Covered Merchandise Referral Documents on

the Record, Attachment: (Jan. 21, 2020), P.R.9-11. Customs imposed interim measures on

November 29, 2018. See id. After a year-long EAPA investigation and a successful on-site

verification at Finewood, Customs made a scope referral to Commerce to determine “whether the

2-ply cores of Chinese origin, which are further processed in Vietnam to include the face and

back veneers of non-coniferous wood, are within the scope of the orders.” Id. Four months after

the September 16, 2019 referral, Commerce initiated the instant scope inquiry. See Dep’t

Commerce, Certain Hardwood Plywood From the People’s Republic of China: Notice of

Covered Merchandise Referral and Initiation of Scope Inquiry, 85 Fed. Reg. 3024 (Jan. 17,

2020).

         On March 12, 2020, Commerce issued to Finewood a comprehensive questionnaire that

covers, inter alia, Finewood’s corporate structure, personnel, raw material purchases, plywood

production, and sales operations, which Finewood timely responded to in two filings. See

Finewood QR, P.R.26, C.R.3; Finewood Questionnaire Response of Certain Exhibits (Apr. 23,

2020) (“Finewood QR Pt II”), P.R.28, C.R.4-7. As Finewood explained in this questionnaire

response, the company was established in December 2017 and operated from April to November


                                                5
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 12 of 54
                               NON-CONFIDENTIAL VERSION



2018 when CBP first announced its EAPA investigation 7252 with the imposition of over 200%

AD CVD cash deposit rates on all of Finewood’s shipments. See Finewood QR at 1-3.

Finewood effectively ceased operations after November 2018 for lack of orders. Id.

Nevertheless, Finewood kept its records, essential personnel, and factory to fully cooperate with

CBP’s year-long investigation and verification. The company did not dissolve until September

2019. Id.

       Almost a year after the initial questionnaire, Commerce issued a complex supplemental

questionnaire to Finewood which was akin to the initial Sections C & D questionnaire issued to a

mandatory respondent in antidumping proceedings. See Commerce Ltr. to Finewood, Re:

Supplemental Questionnaire (Mar. 2, 2021), P.R.42-44, C.R.11-13. Commerce also requested

that Finewood comment on the substantial transformation analysis factors. Id. On March 17,

2021, Finewood filed a letter notifying Commerce of its difficulties in responding, because

Finewood had been dissolved in September 2019 and company records were left behind in

Vietnam when its owners and managers went back to China, not anticipating that a global

pandemic would hinder travel between China and Vietnam. See Finewood - Notice of

Difficulties in Responding to the Department’s Supplemental Questionnaire (Mar. 17, 2021),

P.R.54. In March 2021, the records that Finewood still had access to are the documents

submitted to CBP in the EAPA investigation in 2019 while Finewood still existed. However,

CBP never asked Finewood to report cost data for auxiliary materials, energy, labor consumption

data and raw material consumption in the manner now requested by Commerce. Id. For this

reason, Finewood requested that Commerce place on the record the factors of production

(“FOP”) data from the Chinese mandatory respondent in Commerce’s first antidumping

administrative review in Hardwood Plywood from China 2017-18 (“POR 1”). Finewood


                                                6
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 13 of 54
                               NON-CONFIDENTIAL VERSION



reasoned that the 2017-18 annual review period covered Finewood’s entire production period

and, thus, was contemporaneous. Further, the mandatory respondent in that review, Linyi

Chengen Import and Export Co., Ltd. (“Chengen”), was the sole mandatory respondent so that

Commerce could use Chengen’s FOP data and Section D questionnaire response generally as

neutral facts available. Id. Chengen’s data was the best available information also because the

factories share highly similar production steps, used similar equipment in production, and both

were located in non-market economy countries. Id. Commerce did not respond to Finewood’s

request before the supplemental questionnaire response was due, so Finewood placed Chengen’s

information on the record under the regulations. See Finewood, Re: Scope Inquiry - Placing

Information from POR 1 on the record (Apr. 13, 2021) (“Chengen POR1 Records”), P.R.62-84,

C.R.25-96. On March 30, 2021 and April 13, 2021, Finewood timely filed its supplemental

questionnaire response including the consumption data and FOP build-up. See Finewood

Supplemental Questionnaire Response – Part I (Mar. 30, 2021) (“Finewood SQR Part I”),

P.R.59, C.R.14-24; Finewood Supplemental Questionnaire Response – Parts II & III (Apr. 13,

2021) (“Finewood SQR Parts II & III”), P.R.85-90, C.R.97-116.

       In subsequent comments and rebuttal comments in relation to Commerce’s request for

parties to analyze the substantial transformation test, Finewood argued that the unambiguous

language of the Hardwood Plywood Orders excluded any and all products consisting of less than

three plies. See Finewood’s Supplemental Questionnaire Response – Part IV, Information on

Substantial Transformation at 7-8 (Apr. 20, 2021) (“Finewood SQR Part IV”), P.R.91-92,

C.R.117-123; see also, Finewood QR at 14-17 & Exhibit 12, P.R.26, C.R.3. Finewood argued

that its reading of the plain scope language is supported by previous court decisions on the

definition of plywood as well as the relevant explanatory notes to the Harmonized Tariff


                                                7
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 14 of 54
                               NON-CONFIDENTIAL VERSION



Schedule published by the World Customs Organization (“ENs”), which CBP replies upon in

classifying products. See Finewood SQR Part IV at 10-11. Finewood next argued that none of

the sources listed in 19 C.F.R. § 351.225(k)(1)(2020) (“(k)(1) materials”) support a finding that

Finewood’s two-ply panels are within the scope of the Orders. Id. at 11-14. Moreover, the

factors listed in 19 C.F.R. § 351.225(k)(2)(2020) (“(k)(2) factors”) also support the conclusion

that two-ply panels are outside of the scope of the Orders. Id. at 14-20. Further, under the

substantial transformation analysis, Finewood argued that the upstream two-ply and the

downstream finished plywood fell into a different class or kind of products, and the processing in

Vietnam changes the important qualities and use of the two-ply. Furthermore, the nature and

sophistication of processing in Vietnam, the value added to the two-ply, and level of investment

in Vietnam are significant. See generally, id. at 2-8, 21-39; see also, Finewood’s Rebuttal to

Petitioner’s Additional Information (Apr. 30, 2021) (“Finewood Apr. 30 Rebuttal”), P.R.100,

C.R.125; Finewood’s Sur-Rebuttal to Petitioner’s May 4, 2021 Rebuttal Comments (May 13,

2021) (“Finewood Sur-Rebuttal”), P.R.107, C.R.127.

       On August 26, 2021, Commerce issued its Preliminary Scope Ruling, finding that the

plain scope language does not define the “certain veneered panels.” Therefore, the scope

language is ambiguous and not dispositive in determining whether “two-ply panels, generally,

are included within the scope of the Orders.” See Dep’t Commerce, Memorandum re:

Antidumping Duty and Countervailing Duty Orders on Certain Hardwood Plywood Products

from the People’s Republic of China, Enforcement and Protect Act (EAPA) Investigation No.

7252: Preliminary Scope Ruling (Aug. 26, 2021) (“Prelim. Scope Ruling”) at 10-12 P.R.110,

C.R.128, & Preliminary Analysis Memo (“Prelim. Analysis Memo”), P.R.111, C.R.129-130.

Based on (k)(1) sources, Commerce determined that the phrase “certain veneered panels”


                                                8
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 15 of 54
                               NON-CONFIDENTIAL VERSION



encompasses Finewood’s two-ply panels. Id. at 12-14. Commerce also found that all factors

under the substantial transformation test support a finding that the two-ply panels were not

substantially transformed in Vietnam. Id. at 15-32.

       On September 30, 2021, Plaintiffs jointly filed comments challenging all aspects of

Commerce’s preliminary scope determination. See Finewood, FEA, and Liberty (“DH

Respondents”) – (rejected) Comments on Preliminary Scope Ruling (Sept. 30, 2021), P.R.125,

C.R.131; DH Respondents - Resubmission of Comments on Preliminary Scope Ruling (Dec. 14,

2021) (refiling rejected Sept. 30, 2021 comments to comply with Commerce’s request to remove

references to documents from the underlying Hardwood Plywood Order AD Investigation that

were not previously placed on the record) (“DH Respondents Revised Cmts.”), P.R.138,

C.R.134.

       On January 21, 2022, Commerce issued its final determination, concluding that

Finewood’s two-ply panels are within the scope of the Hardwood Plywood Orders based on the

ambiguous scope language and the (k)(1) factors. Final Scope Ruling at 9-20. Commerce did

not change any of its determinations for the specific factors under the substantial transformation

analysis. See id. at 20-43.

IV.    SUMMARY OF ARGUMENT

       The scope language of the Hardwood Plywood Orders define the subject merchandise as

having a minimum of three plies: a face veneer, a back veneer, and a core. The plain language of

the Orders do not cover two veneer sheets glued together (so-called “two-ply panels” that are

really semi-finished raw materials). Further, the sources listed in 19 CFR § 351.225(k)(1) do not

support Commerce’s conclusion that the scope of the Orders includes two-ply panels. Therefore,

Commerce’s scope ruling concerning two-ply panels was not supported by substantial evidence


                                                 9
      Case 1:22-cv-00049-MAB Document 32-1                   Filed 08/16/22      Page 16 of 54
                                 NON-CONFIDENTIAL VERSION



and was arbitrary and capricious. Finally, Commerce’s conclusion that two-ply panels from

China were not substantially transformed in the production of finished plywood in Vietnam is

not supported by substantial evidence.

V.      ARGUMENT

      A.    Two-Ply Panels Finewood Purchased From China Are Not Subject Merchandise.

                1.      Legal Standard for Scope Determinations

        In a scope ruling, Commerce starts from the plain scope language of the applicable

AD/CVD Orders. See Walgreen Co. v. United States, 620 F.3d 1350. 1356 (Fed. Cir. 2010)

(“The primary source in making a scope ruling is the antidumping order being applied.”). “The

plain language of a countervailing or antidumping order is ‘paramount’ in determining whether

particular products are included within its scope.” Fedmet Res. Corp. v. United States, 755 F.3d

912, 918 (Fed. Cir. 2014) (citing King Supply Co. v. United States, 674 F.3d 1343, 1345 (Fed.

Cr. 2012)). “Scope orders may be interpreted as including subject merchandise only if they

contain language that specifically includes the subject merchandise or may be reasonably

interpreted to include it.” Duferco Steel, Inc. v. United States, 296 F.3d 1087, 1089 (Fed. Cir.

2002) (emphasis supplied). Further, although Commerce has the authority to clarify an order’s

scope, it cannot interpret an order “in a way contrary to its terms,” nor in a way “so as to change

the scope of that order.” Whirlpool Co. v. United States, 890 F.3d 1302, 1308 (Fed. Cir. 2018)

(internal citation omitted).

        If the plain scope language is unclear, then Commerce must turn to the (k)(1) criteria,

which includes: (i) the petition, (ii) the initial investigation, and (iii) any earlier determinations

by Commerce and the ITC. See 19 C.F.R. § 351.225(k)(1) (2020). The (k)(1) sources are

“afforded primacy in the scope analysis [] because interpretation of the language used in the


                                                   10
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22      Page 17 of 54
                                NON-CONFIDENTIAL VERSION



orders must be based on the meaning given to that language during the underlying

investigations.” Fedmet Res. Corp., 755 F.3d at 921. If the (k)(1) sources do not dispositively

resolve the matter, Commerce must then turn to the criteria under (k)(2), which include (i) the

physical characteristics of the product, (ii) the expectations of the ultimate purchasers; (iii) the

ultimate use of the product, (iv) the channels of trade, and (v) the manner in which the product is

advertised and displayed. 19 C.F.R. § 351.225(k)(2) (2020).

       Applying these principles to the Hardwood Plywood Orders and to the facts in this case,

the only reasonable conclusion supported by substantial evidence is that two-ply panel is non-

scope merchandise.

                 2.    Two-Ply Raw Materials for Plywood Construction Are Not Subject
                       To the Orders Based on the Plain Language of the Hardwood
                       Plywood Orders.

       Commerce’s determination that the plain language of the orders was ambiguous

regarding “certain veneered panels” is erroneous. See Final Scope Ruling at 10-11. Commerce

claimed that “{a}lthough the first sentence of the scope of the Orders identifies subject

merchandise as ‘hardwood and decorative plywood, and certain veneered panels,’ the description

in the second sentence of the scope only defines ‘hardwood and decorative plywood’ (i.e., the

first of these terms).” Therefore, Commerce found that the term “certain veneered panel” is

undefined. Id.

       In fact, however, the scope definition unambiguously states in the very first sentence that

the “certain veneered panels” that are in the scope of the Hardwood Plywood Orders are the

veneered panels “described below.” See AD Order, 83 Fed. Reg. at 512 (“The merchandise

subject to this investigation is hardwood and decorative plywood, and certain veneered panels

as described below.”) (emphasis supplied). And, indeed, veneered panels are described



                                                  11
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22     Page 18 of 54
                                 NON-CONFIDENTIAL VERSION



immediately thereafter – unambiguously – as “consisting of two or more layers or plies of wood

and a core,” i.e., consisting of at least three layers. Id. (“For purposes of this proceeding,

hardwood and decorative plywood is defined as a generally flat, multilayered plywood or other

veneered panel, consisting of two or more layers or plies of wood veneers and a core, with

the face and/or back veneer made of non-coniferous wood (hardwood) or bamboo.”).

(Emphasis Supplied). Finewood, in contrast, imported two core veneers without a face or back

veneer.

          Reading the scope language plainly, in the first sentence, “hardwood and decorative

plywood” and “certain veneered panels” overlap to some extent, but not completely. “Certain”

is used as a quantifier in this first sentence, meaning “some particular members of the group” of

veneered panels, but not all. See COBUILD Advanced English Dictionary. Copyright ©

HarperCollins Publishers, available at

https://www.collinsdictionary.com/us/dictionary/english/certain#:~:text=If%20you%20are%20ce

rtain%20about,have%20no%20doubt%20about%20it (last accessed August 14, 2022). In the

second sentence, the scope language immediately explains that for purposes of this proceeding,

the term “hardwood and decorative plywood” can be: (1) a generally flat, multilayered plywood,

or (2) other veneered panels, which are then defined as consisting of “two or more layers or plies

of wood veneers and a core, with the face and/or back veneer made of non-coniferous wood

(hardwood) or bamboo.”

          In the final scope ruling, Commerce improperly speculated that “if the definition of

‘hardwood and decorative plywood’ were intended to also define ‘certain veneered panels,’ the

express inclusion of ‘certain veneered panels’ in the first sentence of the scope, which was not in

the original language proposed by the Petitions, would be unnecessary.” Final Scope Ruling at


                                                  12
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22         Page 19 of 54
                                NON-CONFIDENTIAL VERSION



11. The original language proposed by the Petition will be discussed below as it pertains to

(k)(1) sources. However, by the same logic, if the “other veneered panels” defined in the second

sentence were not the same as “certain veneered panels” mentioned in the first sentence, the

express inclusion of “certain veneered panels, as described below” in the first sentence, which

was not in the original language proposed by the Petitions, would also be unnecessary.

       Commerce’s argument that “the description in the second sentence of the scope only

defines ‘hardwood and decorative plywood’ is a fiction that makes no sense because the scope

language defining the subject merchandise as a panel with a minimum of three plies clearly

applies to both hardwood and decorative plywood and “other veneered panels.” “Other

(adjective) is defined as: “b: being the one or ones distinct from that or those first mentioned or

implied”; https://www.merriam-webster.com/dictionary/other (last accessed June 10, 2022).

       Thus, the “certain” and “other” veneered panels can be distinguished from “plywood,”

which is defined as follows in trade cases: “(1) there must be at least three layers; (2) each layer

must be arranged at a right angle to its adjacent layer; and (3) the layers must be bonded

together.” Boen Hardwood Flooring, Inc. v. United States, 357 F.3d 1262, 1265 (Fed. Cir.

2004). Namely, the core of the subject merchandise is not limited to individual veneers arranged

at a right angle to its adjacent layer, but rather “may be composed of a range of materials,

including but not limited to hardwood, softwood, particleboard, or medium-density fiberboard

(MDF).” AD Order, 83 Fed. Reg. at 512 (MDF has no grain or grain direction so it cannot be

said to be set at an angle to the face or back veneers with directional grain).

       Commerce’s argument is circular with respect to the “certain veneered panels” in the first

sentence where Commerce assumes that the unambiguous language “described below” and the



                                                 13
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22     Page 20 of 54
                                NON-CONFIDENTIAL VERSION



definition of “other veneered panels” as “consisting of two or more layers or plies of wood and a

core, with the face and/or back veneer made of non-coniferous wood (hardwood) or bamboo” do

not mean what the plain language says it means and is therefore ambiguous. Critically, the term

“hardwood and decorative plywood” is used in the scope language from the second sentence and

forward. The term includes plywood, which meets the definition of veneered panel, and other

veneered panels that consist of two or more layers or plies of wood veneers and a core, where the

core may be composed of materials other than individual wood veneer(s). The two modifying

clauses in the second sentence: “consisting of two or more layers or plies of wood and a core,

with the face and/or back veneer made of non-coniferous wood (hardwood) or Bamboo” is

clearly used to modify both nouns before it, i.e., (1) a generally flat, multilayered plywood, and

(2) veneered panels. The Court therefore must reject Commerce’s reading of the scope language

that ignores the plain and reasonable reading of the scope language.

               3.      Commerce Erred In Its (k)(1) Analysis.

       After determining that the term “certain veneered panel” is undefined in the scope

language, Commerce turned to the 19 C.F.R. § 351.225(k)(1) sources including the Petitions, the

ITC Final Report, and prior determinations to bring the two-ply panel into the scope. Final

Scope Memo at 16-20. Commerce’s (k)(1) analysis and its determination that two-ply panels are

included in the scope is contrary to record evidence. The initial Petition and the scope language

adopted prior to the initiation of the investigations clearly demonstrate that Petitioner only

intended to cover plywood products composed of three plies of more. Commerce’s reliance on

the AD investigation’s preliminary scope memo is misplaced. Further, there is not a scintilla of

evidence that supports the claim that Commerce or the U.S. International Trade Commission

(“ITC”) ever considered two-ply panels in their respective investigations.


                                                 14
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22    Page 21 of 54
                               NON-CONFIDENTIAL VERSION



                   a. The Petition and Revisions to the Scope Language Prior to Initiation
                      and Commerce’s Preliminary Scope Memo in the Investigation.

       Petitioner filed the underlying AD and CVD Investigation Petitions on November 18,

2016. See Finewood SQR Part IV at Exhibit SQ1-25 (Ltr. from Wiley Rein to Commerce, Re:

Petitions for the Imposition of Antidumping and Countervailing Duties, Vol. I, at 4-5 (Nov. 18,

2016) (“Petition Vol. I”)), P.R.91-92, C.R.117-123. Petitioner defined the subject merchandise

under section E.1. “Scope of Investigation.” Id.

       On December 2, 2016, counsel for Petitioner participated in a conference call with eight

Commerce officials and seven Customs officials to discuss “{i}ssues relating to the proposed

scope of the investigations.” Id. at Exhibit SQ1-27 (Dep’t Commerce, Memorandum to File re:

Meeting with Counsel to Petitioner and Customer {sic.} and Border Protection (Dec. 7, 2016)).

       On December 6, 2016, Petitioner filed a letter revising the scope language. Id. at Exhibit

SQ1-26 (Ltr. from Wiley Rein to Commerce, Re: Certain Hardwood Plywood Products from the

People’s Republic of China, at 1-2 & Ex. 1 (Dec. 6, 2016) (“Revised Scope Language”)). The

relevant section in the revised scope language is the same as the scope language in Commerce’s

December 16, 2016 published Initiation Notice as well as the language of the final scope

language in the published Hardwood Plywood Orders. A side-by-side comparison of the

relevant language in these two versions of scope of the Orders is provided below for ease of

reference, with certain altered language bolded and italicized:

     Scope Language in the Nov. 18, 2016              Revised Scope Language in Petitioner’s Dec. 6,
                 Petition:                                            2016 Letter:


 The merchandise subject to this investigation     The merchandise subject to this investigation is
 is hardwood and decorative plywood.               hardwood and decorative plywood, and certain
                                                   veneered panels as described below.




                                                 15
     Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22    Page 22 of 54
                             NON-CONFIDENTIAL VERSION



Hardwood and decorative plywood is a flat         For purposes of this proceeding, hardwood and
panel composed of an assembly of two or           decorative plywood is defined as a generally flat,
more layers or plies of wood veneers in           multilayered plywood or other veneered panel,
combination with a core.                          consisting of two or more layers or plies of wood
                                                  veneers and a core, with the face and/or back
                                                  veneer made of non-coniferous wood (hardwood)
                                                  or bamboo.

The veneers, along with the core, are glued or    The veneers, along with the core may
otherwise bonded together to form a finished      be glued or otherwise bonded together.
product.

A hardwood and decorative plywood panel
must have at least either the face or back
veneer composed of one or more species of
hardwood or bamboo.

……                                                ……

A "veneer" is a thin slice of wood which is       For purposes of this investigation a
rotary cut, sliced or sawed from a log, bolt or   “veneer” is a slice of wood regardless of
flitch. The face veneer is the exposed veneer     thickness which is cut, sliced or sawed from
of a hardwood and decorative plywood              a log, bolt, or flitch. The face and back
product which is of a superior grade than that    veneers are the outermost veneer of wood
of the back veneer, which is the other exposed    on either side of the core irrespective of
veneer of the product (i.e., as opposed to the    additional surface coatings or covers as
inner veneers). When the two exposed              described below.
veneers are of equal grade, either one can be
considered the face or back veneer. For
products that are entirely composed of veneer,
such as Veneer Core Platforms, the exposed
veneers are to be considered the face and
back veneers, in accordance with the
descriptions above.

The core of hardwood and decorative               The core of hardwood and decorative
plywood consists of the layer or layers of        plywood consists of the layer or layers of
one or more material(s) that are situated         one or more material(s) that are situated
between the face and back veneers. The            between the face and back veneers. The core
core may be composed of a range of                may be composed of a range of materials,
materials, including but not limited to           including but not limited to hardwood,
veneers, particleboard, and medium-density        softwood, particleboard, or medium-density
fiberboard ("MDF'').                              fiberboard (MDF).




                                                 16
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 23 of 54
                               NON-CONFIDENTIAL VERSION



       Petitioner, after having a meeting to discuss the “proposed scope of the investigations”

with eight Commerce officials and seven Customs officials, modified the first sentence to add

“certain veneered panels as described below” and expanded the definition of “hardwood and

decorative plywood” from “a flat panel” to “a generally flat, multilayered plywood or other

veneered panel.” It is inconceivable that Petitioner then simply forgot to define what is “certain

veneered panel.” Indeed, “certain veneered panel” is defined in the scope as panels of more than

three plies and with the face and/or back veneer being made of hardwood or bamboo. This is

further supported by Petitioner’s response to an interested party’s request to remove the phrase

“veneered panel” in the investigation.

       During the AD and CVD investigations, an importer, Richmond International Forest

Products (“RIFP”), requested that Commerce remove the reference to “certain veneered panels”

in the scope language because “there is no specific description of the physical characteristics or

uses that define ‘certain veneered panels’ as distinct from the specifically defined ‘hardwood and

decorative plywood.’” See Finewood Sur-Rebuttal at Exhibit SR-1 (May 13, 2021) (Dep’t

Commerce, Re: Certain Hardwood Plywood Products from the People’s Republic of China:

Scope Comments Decision Memorandum for the Preliminary Determinations, at Cmt. 4 (Apr.

17, 2017) (“Inv. Prelim. Scope Memo”)), P.R.107, C.R.127. (Emphasis Supplied).

       Petitioner opposed RIFP’s request, as summarized by Commerce, because:

       Petitioners state that the WCO defines plywood as being “three or more sheets
       of wood glued and pressed one on the other and generally disposed so that the
       grains of successive layers are at an angle.” Petitioners state that WCO defines
       a veneered panel, on the other hand, as a veneer of wood (in this case a
       hardwood) which has been affixed to a base (including the core) of inferior
       wood or a non-wood product. Petitioners state that an example of a veneered
       panel could be a three-ply hardwood panel with oak front and rear faces and with a
       core of particle board or a core of medium-density fiberboard (MDF).




                                                17
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22     Page 24 of 54
                               NON-CONFIDENTIAL VERSION



Id. (emphasis supplied). Petitioner’s response confirms that the addition of “certain veneered

panel” to the scope language was merely to resolve the discrepancy between (1) “plywood”

defined in the WCO and the Boen Hardwood Flooring Court, cited above, and (2) “plywood”

intended to be covered in the scope. The ENs define “plywood” as composed of “three or more

sheets of wood,” meaning that the core also must be a sheet of wood, and cannot be a type of

composite wood products such as MDF or non-wood products. On the other hand, the EN

definition of “veneered panel” does not require that the product consist of only “sheets of wood,”

but instead can have layers that are made of “inferior wood” or “non-wood product.” Therefore,

Petitioner added the term “certain veneered panels” to reference in-scope products that do not

meet the definition of “plywood” in the tariff schedule by the WCO’s definition.

       Commerce, in its final scope ruling, claims that the example given in Petitioner’s rebuttal

comments “describes a hardwood plywood product, rather than a veneered panel.” See Final

Scope Ruling at 19. In fact, Commerce’s statement completely contradicts its preliminary scope

memo in the Hardwood Plywood investigation, which states that “an example of a veneered

panel could be a three-ply hardwood panel with oak front and rear faces and with a core of

particle board or a core of medium densify fiberboard (MDF).” Inv. Prelim. Scope Memo at

Cmt. 4. (Emphasis supplied).

       Likewise, Commerce’s claim that the now-removed phrase “veneer core platforms” in the

original Petition confirms Petitioner’s intent to include two-ply panels is illogical. See Final

Scope Ruling at 15; Petition Vol. I at 4-5 (see original scope language above referencing

“Veneer Core Platforms”). Petitioner’s reference to this undefined term, “Veneer Core

Platforms,” was not even in the first paragraph describing the subject merchandise, but in a

paragraph defining “veneer.” Petition Vol. I at 4.



                                                 18
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22     Page 25 of 54
                               NON-CONFIDENTIAL VERSION



       After the Dec. 2, 2016 meeting with Commerce and Customs and in the Dec. 6, 2016

Revised Scope Language, Petitioner removed the term “veneer core platform” altogether from

the proposed scope language, added the phrase “certain veneered panels as described below” to

the first sentence of the plywood scope definition, and added in the second sentence the

introductory clause “for purposes of this proceeding,” i.e., within the scope of the investigations

is plywood or other veneered panels that consist of “two or more layers or plies of wood veneers

and a core” and “with the face and/or back veneer made of non-coniferous wood (hardwood) or

bamboo.” See Revised Scope Language above. Thus, the petition, the conference between

Commerce, Customs, and Petitioners’ legal counsel, and the scope language revisions prior to

initiation of the investigations all support the conclusion that “certain veneered panels” were

defined and described in the scope language as consisting of at least three layers or plies.

Veneered panels consisting of only two plies are not included in the scope of the Hardwood

Plywood Orders.

           b. Commerce Did Not Investigate Two-Ply In the AD Investigation.

       In its Final Scope Ruling, Commerce erred in dismissing Finewood’s argument that it

never required respondents in the AD investigation to identify two-ply panels in its initial

hardwood plywood product characteristics. See Final Scope Ruling at 19-20.

       In identifying similar subject merchandise to compare normal value to U.S. price,

Commerce uses a model-matching methodology based on a hierarchy of product characteristics

that are commercially significant to the merchandise at issue. See Maverick Tube Corp. v.

United States, 107 F. Supp. 3d 131, 1329 (Ct. Int’l Trade 2015). Commerce does not attempt to

account for every conceivable characteristic when selecting matching criteria but prioritizes the

most meaningful characteristics in CONNUM building.



                                                 19
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 26 of 54
                               NON-CONFIDENTIAL VERSION



       In the Hardwood Plywood AD investigation, CONNUMs were constructed from product

characteristics found in Fields 3.1 through 3.12. See Finewood Sur-Rebuttal at Exhibit SR-2

(Dep’t Commerce, Re: Product Characteristics and Deadline for Sections C and D of the

Antidumping Duty Questionnaire (Jan. 12, 2017) (“CONNUM Memo”)), P.R.107, C.R.127. In

particular, Field 3.6 describes “Core Composition.” Id. And Commerce did not give an option

for respondents to choose “none,” as it did for Fields 3.10: Surface Coating and 3.11: Minor

Processing. Commerce understood that subject merchandise must have a face veneer (Fields

3.1-3.3), a back veneer (Fields 3.4-3.5), and a core (Field 3.6). Under Field 3.6: Core

Composition, the assigned two-digit codes all correspond to specific composition of the material

of the core layer(s), while the last option is “10-n Other – specify.” However, the narrative

description provided under Field 3.6 clearly states that “{i}f the core layer(s) are made of

multiple materials, report ‘other’ in this field and specify each combination of materials for each

unique product,” with no option to say “none.” Id. Normally, there are “additional product

characteristics” not included in the CONNUM because they are less critical, and respondents are

instructed to contact the Commerce officials in charge if they had any concerns on how to report

data in such fields. See e.g., id. at Field 3.13: Number of Plies. However, Field 3.6: Core

Composition, is not such an “additional product characteristics.” This confirms that Commerce

understood that subject merchandise must have a core layer or layers.

       In addition, Finewood argued that Commerce’s supplemental questionnaires issued

throughout the investigation gave no indication that it considered two-ply veneered panels to be

in-scope merchandise. See DH Respondents Revised Cmts. at 15-17, P.R.138, C.R.134.

Commerce does not dispute that it did not issue questionnaires or supplemental questionnaires on

two-ply panels during the investigation, but argued that it did not question the respondent



                                                20
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22      Page 27 of 54
                                NON-CONFIDENTIAL VERSION



regarding two-ply panels because the respondent (i.e., Chengen) reported that all its sales to the

United States were of subject merchandise, and therefore, there was no need to issue

supplemental questionnaires to elicit information about merchandise purported to be non-subject.

See Final Scope Ruling at 20.

       Commerce’s rationale is exactly backwards. Chengen was only required to report in its

Sections C & D its “subject merchandise” U.S. sales. Based on the plain scope language and the

CONNUM Memo, Chengen would have only treated sales of three-ply panels or more as subject

merchandise, and would not have reported two-ply panels sales, if any. If, after initiating the AD

investigation and issuing the Jan. 2017 CONNUM Memo, Commerce had an epiphany on April

17, 2017 that two-ply panels are included in the plywood scope, Commerce would have issued

supplemental questionnaires to Chengen to confirm that Chengen did not make two-ply panel

sales to the U.S., or in the alternative, report its sales of two-ply panels as subject merchandise,

Indeed, nothing on the record shows that Commerce ever considered two-ply panels to be subject

merchandise.

           c. The ITC Did Not Investigate Two-Ply Panels.

       Commerce found that the term “certain veneered panels” was part of the scope of the

ITC’s investigations, and the ITC defined the domestic like product as coextensive with the

scope of the investigation. Therefore, the ITC must have specifically considered “certain

veneered panels,” including two-ply panels, in its injury investigation. See Final Scope Ruling at

13. Plaintiffs, however, did not argue that ITC did not consider “certain veneered panel.”

Instead, the issue is whether the ITC considered two-ply panels. Commerce’s circular argument

(i.e., two-ply is included in the scope as “certain veneered panel,” the ITC referenced and hence




                                                 21
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22     Page 28 of 54
                                NON-CONFIDENTIAL VERSION



considered “certain veneered panel” in its injury determination, and therefore, the ITC

considered two-ply in its injury determination) must be rejected.

       In ITC’s final injury report, directly after the text of Commerce’s scope definition, the

ITC provides its definitive understanding of the subject merchandise covered by the scope of the

investigations: “{h}ardwood and decorative plywood is a wood panel product made from

gluing two or more layers of wood veneer to a core which may itself be composed of veneers or

other type of wood material such as medium density fiberboard (‘MDF’), particleboard, lumber,

or oriented strand board.” Hardwood Plywood from China, Inv. Nos. 701-TA-565 & 731-TA-

1341, USITC Pub. 4747, 2017 ITC LEXIS 1583, *16-17 & 98 (Dec. 2017) (emphasis added);

see also 19 U.S.C. § 1677(10) (defining a “domestic like product” as “a product which is like, or

in the absence of like, most similar in characteristics and uses with, the article subject to an

investigation”). The ITC does not refer to two-ply veneered panels anywhere in its final report.

The ITC indeed does not discuss “two-ply” at all. The term “veneered panels” appears only

separately in the text of the scope definition, text of the U.S. tariff schedule, and in one reference

to out-of-scope substitute products found on the U.S. market for “hardwood plywood veneered

panels.” Id. at *9, *87, *97, *138. It is therefore clear that the product investigated by the ITC is

something made from gluing two or more layers of veneer to a core – thus at least three plies.

       Commerce is not free to ignore or disregard the ITC’s understanding of the products

covered by its injury investigation. As the CIT recently found: “{r}ead in the entirety, the ITC

Report contains evidence lending weight to a conclusion that Star Pipe's flanges are not subject

merchandise. Under 19 C.F.R. § 351.225(k)(1), Commerce was not free to ignore this evidence.”

Star Pipe Prods. v. United States, 365 F. Supp. 3d 1277, 1286 (Ct. Int'l Trade 2019). In a related

case the CIT also stated: “{t}he Department's regulation, 19 C.F.R. § 351.225(k)(1), required


                                                  22
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22      Page 29 of 54
                               NON-CONFIDENTIAL VERSION



Commerce to consider the ITC Report, and it may not do so in a way that disregards probative

evidence therein on the limits of the scope of the ITC investigation and like product.” MCC

Holdings v. United States, No. 18-00248, 2021 Ct. Intl. Trade LEXIS 112, at *19 (Ct. Int'l Trade

Aug. 26, 2021).

       Finally, the ITC’s understanding of the scope of the investigations and the product

definition that governs the extent of its injury investigations takes precedent over any other

consideration of the sources listed in 19 CFR § 351.225(k)(1). Namely, the U.S. antidumping

law requires that the ITC’s investigation of material injury to the relevant domestic industry

include the merchandise covered in the Department’s AD and CVD orders.

       To the extent that Commerce is arguing that the ITC's final determination does not
       take precedence over factors found in § 351.225(k)(1), it misstates the law.
       Commerce may not interpret an order to include products for which the ITC has
       issued a negative injury determination. See Wheatland Tube Co. v. United States,
       21 CIT 808, 819, 973 F. Supp. 149, 158, SLIP OP. 97-100 (1997) ("A fundamental
       requirement of both U.S. and international law is that an antidumping duty order
       must be supported by an ITC determination of material injury covering the
       merchandise in question. . . . It would follow that any expansion of the scope by
       Commerce would extend the antidumping duty order beyond the limits of the ITC
       injury determination and would therefore violate both U.S. and international law."
       (citing 19 U.S.C. § 1673 (1994)).

Maquilacero S.A. De C.V. v. United States, 256 F. Supp. 3d 1294, 1311 (Ct. Int'l Trade 2017).

       In this instant case, Commerce’s scope ruling that Finewood’s two-ply panels are within

the scope of the Hardwood Plywood Orders is refuted by the ITC’s findings and understanding

that the scope merchandise and domestic like product consist of two or more layers of wood

veneer glued to a core. Commerce cannot include two-ply panels in the scope of the Plywood

Orders because the ITC did not include two-ply panels or veneers in its injury investigation.




                                                 23
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22      Page 30 of 54
                                NON-CONFIDENTIAL VERSION



       In sum, the plain language of the scope excludes two-ply panels. Nothing in the Petition,

Commerce’s initial investigation, or the ITC’s injury investigation suggest that wood panels

consisting of only two plies are included in the scope of the Orders. Therefore, the (k)(1) factors

dispositively exclude two-ply panels, and Commerce’s claims to the contrary are unsupported by

substantial evidence.

           d. Commerce Improperly Rejected Plaintiffs’ Citation to (k)(1) Materials.

       After Commerce released its preliminary scope ruling on August 26, 2021, Plaintiffs

submitted their comments on Commerce’s preliminary scope ruling on September 30, 2021,

which included an analysis of certain (k)(1) materials, including Commerce’s consideration of

“veneered panels” in the original plywood investigation. See DH Respondents - (rejected) Cmts.

on Prelim. Scope at 13-19, P.R.125, C.R.131. Commerce rejected portions of Plaintiffs’

September 30, 2021 comments because they allegedly included “factual information from

documents on the record of the investigation segment of this proceeding, but not on the record of

this scope inquiry.” See Dep’t Commerce, Ltr. re: Vietnam Finewood Company Limited

Comments on the Preliminary Scope Ruling (Dec. 10, 2021), P.R.136. As Commerce instructed,

Plaintiffs resubmitted their comments on the preliminary scope ruling on December 14, 2021,

omitting under protest the sections that Commerce claimed included new factual information.

See DH Respondents Revised Cmts., P.R.138, C.R.134.

       Plaintiffs’ citations to the investigation record (which Commerce rejected) resulted from

Plaintiffs’ due diligence in searching all of the (k)(1) materials for any reference by Petitioner or

Commerce that the subject merchandise, or specifically “certain veneered panels,” included two-

ply panels. In addition to Petitioner’s and Commerce’s filings, Plaintiffs searched the complete

ITC Final Report for any mention that the scope of the investigation could be construed to


                                                 24
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22     Page 31 of 54
                               NON-CONFIDENTIAL VERSION



include two-ply panels. Plaintiffs’ search revealed that Petitioner, Commerce, and the ITC

always defined the subject merchandise as composed of at least three layers or plies. DH

Respondents Revised Cmts. at 6-19. In its Final Scope Ruling, Commerce indicated that it had

not considered all (k)(1) materials in this case but rather is “bound to base its conclusions on the

record evidence before it.” Final Scope Ruling at 15, P.R.141, C.R.135. Commerce also noted

that no party had placed the ITC Final Report on the record in its entirety. Id. at 13.

       To be sure, the record evidence as it stands and accepted by Commerce provides no

support for Commerce’s final conclusion that the scope of the investigation includes two-ply

panels. Nevertheless, 19 CFR § 351.255(k)(l) does not limit Commerce’s consideration of the

investigation record to only certain filings or types of filings. Rather, Commerce’s obligations to

consider descriptions of the merchandise contained in the initial investigation extends to the

whole investigation record. Commerce must consider Petitioner’s submissions during the initial

Hardwood Plywood investigation regardless of whether any party put portions of the

investigation materials on the record of the scope inquiry or otherwise referred to such

documentation. Specifically, 19 C.F.R. § 351.225(k)(1) mandates: “the Secretary will take into

account the following: (1) The descriptions of the merchandise contained in the petition, the

initial investigation, and the determinations of the Secretary (including prior scope

determinations) and the Commission.” (Emphasis Supplied). No party can relieve Commerce of

its inquiry obligations under 19 CFR § 351.255(k)(l). In the citations that Commerce finds

offensive in the DH Respondents’ Comments on the Preliminary Scope Determination in this

case, the DH Respondents merely point to those portions of the investigative record that

Commerce was obligated to consider of its own accord in its final determination.




                                                 25
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 32 of 54
                               NON-CONFIDENTIAL VERSION



       The Courts have on numerous occasions ruled that Commerce must look to the (k)(1)

materials to determine whether the scope is ambiguous or not, including investigation documents

and ITC determinations. For example, in Meridian Products, the Federal Circuit stated that

Commerce’s regulation “clarified the legal framework required of Commerce in making scope

ruling determinations.” Meridian Prods., LLC v. United States, 890 F.3d 1272, 1277 (Fed. Cir.

2018) (where the scope of a case cannot be resolved by reference to the plain language of the

order, Commerce must consider the sources identified in its regulations. Id. (citing 19 C.F.R. §

351.225(k)(1)). In other words, the (k)(1) materials are legal authority, not merely factual

information.

       In a recent case involving imported pipe products, the Court of International Trade

reiterated this important legal requirement for Commerce’s scope inquiries. TMB 440AE, Inc. v.

United States, 399 F. Supp. 3d 1314 (Ct. Int’l Trade 2019). In TMB 440AE, the record before the

Court evidently did not include the whole investigation record, but primarily Plaintiff’s citations

to some investigation documents and parts of the ITC report. TMB 440AE, 399 F. Supp. 3d at

1321. The Court admonished Commerce, however, stating:

       By not considering the (k)(1) sources, as required by regulation, Commerce created
       a situation in which duties might be assessed against products without an injury
       determination. Indeed, preventing such a result is likely why the applicable
       regulations state that Commerce "will take into account" the (k)(1) criteria,
       including the ITC determination. 19 C.F.R. § 351.225(k).

Id. at 1322.

       In Saha Thai, the Court found, contrary to Commerce’s challenged scope ruling, that

“{i}n this case, the (k)(1) materials must be read.” Saha Thai Steel Pipe Pub. Co. v. United

States, 547 F. Supp. 3d 1278, 1290 (Ct. Int'l Trade 2021). In reviewing the (k)(1) materials, the




                                                26
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22      Page 33 of 54
                                NON-CONFIDENTIAL VERSION



Court consulted the ITC’s first and second sunset reviews of the relevant orders as (k)(1)

materials even though no party put such ITC publications on the administrative record of

Commerce’s scope inquiry. Id. at 1297.

        In conclusion, in scope inquiries, the (k)(1) materials are legal authority that Commerce

must consult to inform on the meaning of the scope language of an antidumping or

countervailing duty order. Meridian Prods., LLC v. United States, 890 F.3d 1272, 1277 (Fed.

Cir. 2018); see also Midwest Fastener Corp. v. United States, 494 F. Supp. 3d 1335, 1340 (Ct.

Int'l Trade 2021) (“{w}hen considering the scope language, Commerce will take into account

descriptions of the merchandise contained in: (1) the petition; (2) the initial investigation; and (3)

past determinations by the Commission and by Commerce, including prior scope determinations

(collectively ‘(k)(1) sources’)”). Commerce improperly rejected Plaintiffs’ citations to (k)(1)

materials in this case.

            4. Commerce’s Substantial Transformation Analysis is Unnecessary.

        If the Court agrees with Plaintiffs that the scope language and the (k)(1) factors

sufficiently confirm that subject merchandise must include at least three plies – a core, a face ply,

and a back ply – and does not cover two-ply panels, then a further analysis of Commerce’s

substantial transformation criteria is unnecessary. Plaintiffs have found no instances in which

Commerce or the courts conducted a substantial transformation analysis on an upstream product

found to be outside the scope of the relevant AD and CVD orders. Logically, in such instances,

the substantial transformation analysis does not make sense: if the out-of-scope upstream product

is not substantially transformed by downstream processing, then the downstream product is still

out of scope; if the out-of-scope upstream product is substantially transformed by downstream

processing, then the downstream product is a product of the country in which the downstream


                                                 27
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22      Page 34 of 54
                                NON-CONFIDENTIAL VERSION



processing took place. Congress has enacted a specific Statute, 19 U.S.C. § 1677j(b), for which

the express purpose is to prevent circumvention through imports of “merchandise completed or

assembled in other foreign countries,” where the third-country processing is minor or

insignificant. 19 U.S.C. § 1677j(b).

   B. Country of Origin of Finished Hardwood Plywood.

               1. Legal Standard for Substantial Transformation Analysis

       In the alternative, if the Court disagrees with Finewood’s above arguments that two-ply

panels are not subject merchandise, this Court nevertheless should find that Commerce’s

substantial transformation analysis unsupported by evidence or contrary to law. The record

demonstrates that through Finewood’s processing in Vietnam, the Chinese two-ply panel lost its

identity and is substantially transformed into a new and different article, finished plywood. The

proper country of origin of the plywood exported by Finewood to the U.S. is Vietnam.

       To determine if substantial transformation has occurred, Commerce considers five

factors: (1) class or kind, (2) essential characteristics, (3) nature/sophistication of processing in

the exporting country, (4) value added, and (5) level of investment. See Final Scope Ruling at 8;

Bell Supply Co., LLC v. United States, 348 F. Supp. 3d 1281, 1287-1288 (Ct. Int’l Trade 2019)

(“Bell Supply V”). Commerce uses the totality of the circumstances test to analyze each factor

and no factor is dispositive in and of itself. Final Scope Ruling at 23 (“… Commerce continues

to consider the totality of the circumstances of all relevant criteria.”); Bell Supply Co., LLC v.

United States, 393 F. Supp. 3d 1229, 1236, 1343 (Ct. Int’l Trade 2019) (“Bell Supply VI”).

Further, “[a]lthough a totality of the circumstances analysis eschews bright line rules for

balancing, Commerce must explain how each factor weighs in the balance and why.” Bell

Supply V, 348 F. Supp. 3d at 1295.


                                                  28
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 35 of 54
                               NON-CONFIDENTIAL VERSION



               2. Class or Kind Criterion Should Be Given No Weight Based on the Facts
                  In This Case.

       In its Preliminary Scope Ruling, Commerce took the position that it has “generally found

that substantial transformation has taken place when the upstream and downstream products fall

within two different classes or kinds of merchandise…{c}onversely, Commerce almost

invariably determines substantial transformation has not taken place when both products are

within the same ‘class or kind’ of merchandise.” See Prelim. Scope Ruling at 17. This position

is inconsistent with the “totality of the circumstances” test, which implies that Commerce must

consider all five criteria, rather than focusing on one. As Commerce stated, “there is no

hierarchy in determining what factor alone determines substantial transformation, the

Department must weigh available information with respect to each factor and make decisions

based on the particular circumstances unique to each case.” Tapered Roller Bearings and Parts

Thereof, Finished and Unfinished, from the People's Republic of China: Final Results of the

2007-2008 Administrative Review of the Antidumping Duty Order, 75 Fed. Reg. 844 (Jan. 6,

2010) & accompanying IDM at 7 (citing three prior determinations) (Dec. 28, 2009).

       Further, in cases where the upstream input materials and downstream product are

included in the relevant AD/CVD Order, this Court has criticized Commerce’s reliance on the

class or kind criterion. In Bell Supply, the input material was green tubes and the downstream

product was oil country tubular goods “OCTG.” The Order covers certain OCTG, “whether

finished (including limited service OCTG products) or unfinished (including green tubes and

limited service OCTG products)” from China. Bell Supply VI, 393 F. Supp. 3d at 1233-34.

Commerce found on remand that both the input material and downstream product were covered

in the same order, hence they are the same “class or kind.” The Court noted that it appears

“where Commerce elects in the investigation to keep the class together, Commerce’s subsequent


                                                29
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22      Page 36 of 54
                               NON-CONFIDENTIAL VERSION



consideration of this factor in its substantial transformation inquiry amounts to ‘we decided they

were the same, therefore they are the same.’” Id. at 1239. Further, although Commerce’s overall

country-of-origin determination was sustained in Bell Supply, the Court found that Commerce’s

circular class or kind analysis was not supported by the record and “[i]t neither detracts from nor

supports Commerce’s totality-of-the-circumstances analysis.” Id.

       To be sure, Plaintiffs do not argue that the “class or kind” criterion cannot be a part of

Commerce’s substantial transformation analysis per se; rather, Commerce cannot legally defend

that it “invariably determines substantial transformation has not taken place when both products

are within the same ‘class or kind’ of merchandise,” as it did in the Preliminary Scope Ruling.

Moreover, in Bell Supply and Peer Bearing Co. – Changshan v. United States, 128 F. Supp. 3d

1266 (Ct. Int’l Trade 2015), the plain scope language of the relevant orders published in the

Federal Register covers both the material input and finished product. In this case, two-ply panels

as an input to plywood are not covered by the plain scope language (as published in the Federal

Register). According to Commerce, the scope language does not define “certain veneered

panels.” Final Scope Ruling at 11. Nor does the Hardwood Plywood scope include “parts” of

plywood. Commerce therefore cannot rely on the scope language of the Orders to determine that

Finewood’s two-ply panels are of the same class or kind as finished hardwood plywood.

Commerce’s circular analysis of “class or kind” based on what is included in the scope is

unacceptable and deserves no weight in this proceeding.

               3. The Product Properties, The Essential Components/Characteristics of the
                  Merchandise, and Intended End-Use of the Finished Product Were
                  Imparted in the Third Country, i.e., Vietnam.

       Commerce determined that the essential characteristics of the two-ply panels and their

suitability for use in future production of plywood were imparted in China, therefore weighing in



                                                30
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22     Page 37 of 54
                                NON-CONFIDENTIAL VERSION



favor of finding no substantial transformation. See Final Scope Ruling at 28-29. Commerce

rejected Plaintiffs’ argument that it must compare Finewood’s two-ply panels from China with

the downstream product - finished plywood in Vietnam, and instead analyzed where the essential

characteristics of the two-ply panels were imparted. Id. Commerce’s analysis neglects a basic

question: A two-ply panel produced in China naturally retains its essential characteristics in

China, because the product is identical to itself. That is true for any input material that is

produced in any country. Indeed, the “essential characteristics” criterion is meaningful only if

Commerce compares the product properties, the essential characteristics, and the intended end-

use between the input materials from China and finished goods in Vietnam.

       In Bell Supply, Commerce determined that the essential components of “both finished

and unfinished OCTG” is the green tube produced in China. See Bell Supply V, 348 F. Supp. 3d

at 1291. Commerce also determined that the physical and chemical properties of the OCTG did

not “change significantly” as a result of the third-country processing, and the processing in the

third country (i.e., heat treatment) was not required in order for the product to be used for oil and

gas extraction. Id. at 1291-92. The Court affirmed Commerce’s comparative analysis. Id.

Likewise, in Peer Bearing III, the Court first analyzed that a TRB is “designed and built to

perform load-bearing and friction-reducing functions in the machine to which it is fitted,” and

then found that evidence on the record did not demonstrate that “any single part exported from

China to Thailand possessed the physical properties, mechanical properties, or essential character

of a complete TRB.” Peer Bearing III, 128 F. Supp. 3d at 1293 {internal quotation omitted}.

       In this case, the distinguishing physical characteristics of finished hardwood plywood are

imparted through the process of laying out and gluing veneers to construct a plywood panel with

face, back, and core. To produce hardwood plywood, “[t]he veneers are attached with their grain



                                                  31
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 38 of 54
                               NON-CONFIDENTIAL VERSION



in alternating directions –crossbands—in order to provide strength and stability to the finished

product.” See USITC Pub. 4747, 2017 ITC LEXIS 1573, *107. (emphasis supplied). Indeed,

the “construction process gives it dimensional stability and makes it resistant to expansion and

contraction caused by humidity.” Id. at *99-100. In contrast, the two-ply panels Finewood

purchased were not sanded and puttied, have no stability that finished plywood exhibits through

layers of stacking and gluing veneer; nor are they otherwise prepared for face and back veneer

application. The photographs taken by Finewood’s importer during its plant visit prior to the

EAPA case, which were previously submitted in the EAPA investigation to CBP, can best

demonstrate that two-ply panels do not possess the same stability as finished hardwood plywood.

See Finewood’s SQR Part IV at Exhibit SQ1-28 (Photos of Veneer, Two-Ply Panels, and

Plywood), P.R.91-92, C.R.117-123. Single veneer sheets are shown in pictures 3 and 6; two-ply

panels are circled in pictures 9 and 10; core platforms and plywood are shown in pictures 7, 8,

12, 13. Id. The two-ply panels are clearly distinguishable from the more rigid core platforms

and plywood. Indeed, two-ply panels are visibly more similar to single sheets of veneer raw

materials.

       Commerce criticized Finewood’s pictures of the two-ply panels, stating that “nowhere in

the images submitted by Finewood are two-ply panels specifically identified,” by captions. See

Final Scope Ruling at 29-30. However, that set of photos was submitted by the U.S. importer in

April 2019 in its first supplemental questionnaire response to Customs, a year and half before

Customs made the scope referral to Commerce on two-ply panels. See Finewood’s SQR Part IV

at 14-15. The bolded heading before Picture 1 also makes it clear that the exhibit was meant to

show CBP pictures of plywood production stages the importer observed during two plant visits.




                                                32
      Case 1:22-cv-00049-MAB Document 32-1                  Filed 08/16/22      Page 39 of 54
                                NON-CONFIDENTIAL VERSION



Id. at Exhibit SQ1-28. The exhibit was not meant to show CBP specific photos of two-ply

panels, thus no captions were added to distinguish two-ply panels.

       The fact that two-ply panels do not exhibit the same stability and rigidity as plywood

panels are further supported by online pictures posted by U.S. sellers. Finewood found no

advertisements for two-ply panels online and the closest product it found was “two-ply veneer.”

Id. at 20 & Exhibit SQ1-35 (webpage printouts from three different sellers of two-ply veneer).

These photos all demonstrate that two-ply veneers are flexible and can be rolled-up like single

sheets of veneers. Id. at Exhibit SQ1-35; but see, id. at Exhibits SQ1-29 through SQ1-32

(pictures from hardwood plywood sellers showing rigid plywood panels). Plywood panel’s

stability also informs its intended end-use, i.e., construction of cabinets, furniture, architectural

woodwork, wall paneling, manufactured homes, and recreational vehicles. See USITC Pub.

4747, 2017 ITC LEXIS 1573, *99. Indeed, two-ply panels purchased by Finewood clearly

cannot be directly used for any such purposes. Not only are the two-ply panels not esthetically

pleasing for such uses (see Pictures in Exhibit SQ1-28), they also cannot hold weight like

finished plywood due to a lack of structural stability. Finewood also compared the commercial

invoices for the two-ply panel invoice and that of the finished hardwood plywood, demonstrating

that two-ply panels are sold by size only, while plywood are sold on the basis of grade, face

species, type of core, overall panel thickness. See Finewood SQR Part IV at 17 & Exhibits SQ1-

33, SQ1-34. Commerce did not analyze such evidence at all.

       Commerce faulted Finewood for not addressing how its two-ply panels of [2.6 - 4.8]mm

thick are distinguishable from Chengen’s [2000] m3 of a [four-ply], poplar core product that was

[2.6]mm thick from AD POR 1. See Final Scope Ruling at 30. To be precise, Chengen sold a

total of [2,220.031] m3 of such product in POR 1, which is [2.35%] of its entire POR U.S. sales.



                                                  33
       Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 40 of 54
                               NON-CONFIDENTIAL VERSION



See Chengen POR 1 Information at Exhibit AI-2 (Apr. 13, 2021), P.R.62-84, C.R.25-96.

Notably, thickness is not the only essential characteristics of Chengen’s [four-ply] plywood.

Chengen’s product has [graded birch or pine] face veneers, [birch or pine] back veneers, and

[two layers of poplar cores]. The two-ply panels Finewood purchased only has two layers of

poplar cores. Chengen’s [four-ply] product went through the entire production process of

plywood, including [multiple hot and cold pressings, repairing, puttying, sanding, etc.]. Id. at

Exhibit AI-3. This processing provides the strength and stability to the finished plywood, which

Finewood’s glued two-ply panels did not have when they left China. Indeed, the essential

characteristics of Finewood’s finished plywood are imparted in Vietnam through Finewood’s

processing. Commerce’s finding to the contrary is not supported by record evidence and

contrary to law.

                 4. The Nature and Sophistication of Processing in Vietnam Weigh In Favor
                    of Finding Substantial Transformation.

        Commerce found that it takes [12] steps to produce two-ply panels in China or [20] steps

to produce finished plywood in China, but Finewood’s production in Vietnam of finished

plywood from two-ply panels only involves [10] steps, and therefore the nature and

sophistication of the processing that occurs in China is greater. See Final Scope Ruling at 34

(citing Prelim. Scope Ruling at 24; Prelim. Analysis Memo at 1 & Att. 4, unchanged in final).

Commerce’s analysis should be rejected for several reasons, as explained below.

        First, Commerce discounted [4 out of 14] Finewood’s production stages in Vietnam. See

Prelim. Analysis Memo at Att. 4, P.R.111, C.R.129-130; Finewood SQR Part I at Exhibit SQ1-

8, P.R.26, C.R.3. These [ 4 ] steps are [Step 1 - Glue Making, Step 12 – Plywood Sanding, Step

13 – UV Coating, and Step 14 - Packing]. Id. Commerce cannot omit them without

justification.


                                                34
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22      Page 41 of 54
                               NON-CONFIDENTIAL VERSION



       Second, as a general matter, Commerce noted that the production steps cannot be based

on a respondent’s supplier, but that it should take a “holistic view of the production of subject

merchandise,” to avoid potential manipulation related to counting production steps by Finewood.

Final Scope Ruling at 35. There is no legitimacy in Commerce’s assumption. As Commerce is

aware, Finewood’s two-ply panels are all purchased from a third-country reseller. See e,g.,

Finewood QR Pt II at Exhibit 4, P.R.28, C.R.4-7. Finewood has never argued that the two-ply

production process should be limited to one step, i.e., Finewood’s purchase of two-ply panels

from the reseller.

       Moreover, Commerce does not dispute that it prepared its own analysis of the steps in

plywood production in an excel chart with a list of production steps that does not conform to any

particular sources on the record. See DH Respondents’ Revised Cmts. at 29-30, P.R.138,

C.R.134. Instead, Commerce argues that it cannot rely on any company’s specific production

process but must “holistically” view multiple sources. Nevertheless, Commerce’s decision and

reasoning to incorporate or omit production steps from multiple sources must be clearly

discernable to interested parties and to the Court.

       Third, Commerce erred in counting the initial steps of harvesting logs, transporting logs,

[storing log pond in water], and debarking the logs as the four initial steps of two-ply panel

production in China and finished plywood production in China. These steps are not specific to

plywood production, but are the starting point to produce any wood based products. Id. at 36-37.

Nor are these steps performed during core veneer production based on Chengen’s experience.

Id. Moreover, Commerce points to a document submitted by Finewood titled “Plywood

Manufacturing Process in A Chinese Plywood Factory” by Yalong Wood as supporting

evidence, where the diagram begins with “Plantation Timber,” “Log Preparation,” and



                                                 35
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 42 of 54
                               NON-CONFIDENTIAL VERSION



“Debarking. Final Scope Ruling at 36; Finewood SQR Part IV at Exhibit SQ1-37. Commerce

conveniently ignored the caption above and below the diagram. Id. (Right above the diagram,

the company states that “[p]ywood production process: veneer peeling, drying, glue spreading,

…..”; right below the diagram, it states that the article “explains the calibrated plywood

manufacturing process in a typical plywood factory in China,” with the first step listed below as

“Log Cutting,” the second step being veneer peeling). Chengen’s production experience and Ya

Long Wood’s article are specific to plywood production in China, and both start with cutting

logs. Id. at Exhibits SQ1-37 (Ya Long article) & SQ1-38 (Chengen Production Flowchart).

       Next, Commerce counted a step “[arranging veneers]” as part of the two-ply production

in China and hardwood plywood production in China. Prelim. Analysis Memo at Att. 4.

Commerce does not explain how it determined that this is a necessary step and the record

evidence supporting the production step. Further, this step is listed right before “[glueing

veneers],” so presumably this means [placing veneers on a hard surface before applying glue],

but such a minor step is regarded as part of the gluing process, not stand-alone production steps,

of Finewood’s. Id. For a fair comparison, Commerce should have added two additional

“[arranging]” steps to Finewood’s production process or remove them from the China two-ply

production steps and China plywood production steps.

       Lastly, Commerce ignored all record evidence analyzed by Finewood showing that the

production process in China of two-ply panels imparts none of the essential characteristics to the

final hardwood plywood that make the product marketable and usable to plywood consumers.

See Finewood SQR Part IV at 25-31. Commerce also never discussed the photos of two core

veneer factories in China showing an extremely straightforward process with no sophisticated

process required. See Finewood Apr. 30 Rebuttal at 8-10 & Exhibit 1 (photographs are included



                                                36
         Case 1:22-cv-00049-MAB Document 32-1             Filed 08/16/22      Page 43 of 54
                                NON-CONFIDENTIAL VERSION



in Exhibit 1’s attachment), P.R.100, C.R.125. Instead, Commerce unconvincedly argued that

debarking of logs is a labor-intensive process, and slicing veneers requires highly sophisticated

equipment. See Final Scope Ruling at 36; Prelim. Scope Ruling at 23-24.

         Plaintiffs have discussed above that debarking log is not a process specific to plywood

production. The overall weight of the evidence on the record indicates that plywood

manufacturers in China do not generally carry out the process of debarking logs. While it is true

that Chengen debarks some of its logs by hand, Commerce’s verification report stated that “{w}e

observed a worker hand scraping bark off logs. Company officials explained that the birch logs

are received in good quality, and only some need to have bark scraped off, as others arrive

with minimal to no bark. We observed that some of the logs did not need to be debarked.”

Finewood Sur-Rebuttal at Exhibit SR-3, p. 13, P.R.107, C.R.127. {Emphasis Supplied}.

Chengen’s statement that “only some need to have bark scraped off,” accompanied by that: (1)

Chengen had “a worker” debarking logs, and (2) Chengen does not consider debarking of logs

one of its production steps (as it is not listed in Chengen’s production flowchart), strongly

suggest that Chengen does not routinely receive large quantities of logs that need to be debarked.

There is also no discernable connection between Commerce’s observation that a worker was

debarking logs by hand and the conclusion that debarking logs is labor-intensive and resource-

intensive. Finewood undertook several production steps in Vietnam (such as puttying) that are

done by hand and which Commerce did not count as labor-intensive and resource-intensive

steps.

         The other record evidence citation provided by Commerce was to Petitioner’s Rebuttal

Factual Information Response Exhibit 1. See Prelim. Scope Ruling at 24 & FN 141. As

Finewood discussed in its comments, the plywood production process described by a UK



                                                 37
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22     Page 44 of 54
                                NON-CONFIDENTIAL VERSION



company that advertises itself as a distributor of materials, electronic kits, microbits &

accessories, e-textile and conductive thread, robotics, and components and has little relevance to

the plywood production process in China and in Vietnam. See DH Respondents Revised Cmts.

at 35-36.

       Further, Commerce’s argument that Chengen’s bill of materials (BOM) submitted in

POR 1 demonstrates that veneers are produced by equipment that is calibrated to specific and

extremely precise sizes is misplaced. See Final Scope Ruling at 36 (citing to Preliminary Scope

Ruling at 24). Finewood has fully refuted Commerce’s notion that sophisticated equipment is

needed to slice veneers. See DH Respondents Revised Cmts. at 37-38; Chengen POR1 Records

at Exhibit AI-5 (Chengen Section D Supplemental Response at Exhibit SQ3-24), P.R.62-84,

C.R.25-96. Commerce countered in its Final Scope Ruling that Finewood failed to cite to any

record document where, in fact, Finewood cited to the same exact document to which Commerce

referred and, in fact, Finewood’s discussion is based on the drawings and narrative instructions

contained in that document. Final Scope Ruling at 36. Critically, Commerce considered the

degree to which the veneer peeling machinery is tuned even though the referenced Chengen’s

exhibit makes no mention of veneer peeling machine. See Chengen’s Exhibit SQ3-24. And not a

single page in this exhibit supports Commerce’s argument that “veneers are produced on

equipment that is calibrated to specific and precise sizes with finished product tolerance of as

little as only [+0.015] mm per ply.” Prelim. Scope Memo at 24. Rather, the tolerance of the

finished plywood is gained by properly connecting several core sheets horizontally, laying

several core sheets and face/back sheets together vertically, gluing in several stages, hot and cold

pressing in several stages, patching, trimming and sanding the unfinished and then the finished

plywood in several stages. See Chengen’s Exhibit SQ3-24. Finewood undertook all of these



                                                 38
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 45 of 54
                               NON-CONFIDENTIAL VERSION



production steps in Vietnam. See Finewood SQR Part IV at 24, 26-31 and Ex.SQ1-38 and SQ1-

39, P.R.91-92, C.R.117-123; Finewood SQR Part I at Ex. SQ1-8, P.R.59, C.R.14-24; Finewood

SQR Part II at 3-4, P.R.85-90, C.R.97-116. Commerce’s own analysis on sophistication of the

plywood production process confirms that Commerce also must also conclude that Finewood’s

production process is highly sophisticated and comprehensive in nature.

       For the reasons above, Commerce’s analysis of the “Vietnam Plywood Production” must

be revised by adding the four Finewood production steps omitted; removing the first four steps

and the “[arranging veneers]” step in “China Two-Ply Production” and “China Plywood

Production.” See Prelim. Analysis Memo at Att. 4. In that case, Finewood’s production in

Vietnam of finished plywood from two-ply panels involves [14] steps, compared to the [7] steps

to produce two-ply panels in China or [15] steps to produce finished plywood in China. This

comparison indicates that the nature and sophistication of the processing that occurs in Vietnam

is twice as intensive compared to the two-ply processing and is very similar to the entire

plywood production in China, consistent with the comparison between Finewood’s own

production process and Chengen’s production process that Finewood has described.

               5. Finewood’s Value-Added in Vietnam is Substantial.

       Commerce begins its value-added analysis by applying a surrogate value in China to the

cost of purchasing single veneer sheets for the production of two-ply. This methodology directly

contradicts Commerce’s analysis of the nature and sophistication of two-ply production in China,

which began with the harvesting of logs. Commerce attempts to explain this methodological

inconsistency by invoking yet again the hypothetical concern that this might incentivize

Finewood to select a trade/reseller as the comparison point for the production process analysis.

Final Scope Ruling at 38-39. As discussed above in the “natural/sophistication of production



                                                39
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 46 of 54
                                 NON-CONFIDENTIAL VERSION



processing” section, Commerce cannot base its methodological choice on hypotheticals that

ignore the facts in this case.

        Moreover, in analyzing the value-added factor, Commerce used Chengen’s data to

calculate the cost for two-ply panels but modified the application of surrogate values (“SV”) to

an intermediate product (i.e., veneers) instead of the raw materials Chengen actually consumed

(i.e., logs). See DH Respondents’ Revised Cmts. at 31-33 & 39-40 (citing cases including

Albemarle Corp. & Subsidiaries v. United States, 821 F.3d 1345 (Fed. Cir. 2016) in rebuttal to

Commerce’s Preliminary Determination that it cannot assume Chengen’s production process or

consumption rates are representative of the two-ply panel producers in China). In the Final

Scope Ruling, Commerce insists that Chengen’s dumping margin not reasonably reflective of the

separate rate companies’ potential dumping margin. Final Scope Ruling at 39 (citing Linyi

Chengen Imp. & Exp. Co. v. United States, Slip Op 21-127 (CIT September 24, 2021) (“Linyi

Chengen IV”)). Commerce’s argument is untenable because Linyi Chengen IV arose from

litigation of the AD investigation, not POR 1 administrative review. Further, the question of

whether Chengen’s 0% rate from the AD investigation is representative only became a

contestable issue because Chengen’s rate was 0% and the other mandatory respondent’s rate was

based on adverse facts available (“AFA”). Linyi Chengen IV, Slip Op 21-127, at 10-11. In AD

POR 1, Chengen was the sole mandatory respondent and was assigned a rate above de minimum.

See Certain Hardwood Plywood Products From the People’s Republic of China: Final Results of

Antidumping Duty Administrative Review; 2017-2018, 85 Fed. Reg. 77,157 (Dec. 1, 2020)

(assigning Chengen’s calculated rate to all SRA companies). Therefore, Chengen’s data in POR

1 per se accurately reflected those of other producers in China, where the producers of




                                                40
       Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22    Page 47 of 54
                                 NON-CONFIDENTIAL VERSION



Finewood’s two-ply panels are located, and Commerce cannot arbitrarily depart from Chengen’s

production process while using Chengen’s consumption to construct the cost of two-ply.

           Moreover, in Linyi Chengen III and prior litigation, the Court reversed Commerce’s

intermediate input methodology to value Chengen’s plywood production from veneers instead of

logs. Linyi Chengen Imp. & Exp. Co. v. United States, 487 F. Supp. 3d 1349, 1353-54 (Ct Int’l

Trade 2020) (providing factual background that in the investigation, Commerce initially decided

to apply an intermediate input methodology because it found that Chengen’s log consumption

calculations inaccurate, which the Court ultimately decided as unsupported by evidence). Unlike

the Linyi Chengen cases, in this scope ruling, Commerce decided to apply an intermediate input

methodology based on no evidence at all, simply stating that because it “know[s] nothing about

the production processes of Finewood’s Chinese suppliers...” Final Scope Ruling at 38.

Commerce’s decision must be rejected.

           Notably, Commerce stated that it prefers the actual two-ply panel’s FOPs, Finewood’s

FOPs, and Finewood’s Vietnamese toller’s FOPs for cost calculations. Id. However, the record

does not contain such information and it is no fault of Finewood’s. Had CBP, upon receiving

Finewood’s first EAPA questionnaire response, made a prompt scope referral, and had

Commerce requested FOP data promptly instead of waiting for another year and half after

receiving CBP’s scope referral, Finewood could have provided its own FOPs and would have

had much better chances of obtaining FOPs from the unaffiliated two-ply suppliers and local

tollers.

           Another reasonable alternative for Commerce to value the two-ply from China is to apply

SVs directly to the two-ply Finewood purchased. In circumvention inquiries, Commerce



                                                  41
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 48 of 54
                               NON-CONFIDENTIAL VERSION



routinely applies SVs of the input materials directly to it, as exported from the non-market

economy (“NME”) country to the third country. Second Redetermination Pursuant to Court

Remand Order in Bell Supply Co., LLC v. United States, Ct, No. 14-00066 (Dep’t Commerce

Aug. 11, 2016) at 29 (stating that it is Commerce’s normal practice to measure the value of

subject merchandise from NME countries based on SVs). The Malaysia SVs for poplar two-ply

from China is on the record, and Commerce can easily derive the estimated cost of two-ply by

multiplying the total consumption quantity (i.e., 330.13 USD/M3 * [17,123.23] M3). See

Finewood SQR Part III at Exhibit SV-1; Prelim. Analysis Memo at 2.

       Second, Commerce cited the fact that not all of the two-ply producers’, Finewood’s, and

Finewood’s local toller’s actual consumption data is on the record as reason to continue using

Finewood’s U.S. sales price as the denominator instead of an FOP buildup. Final Scope Ruling

at 39-40. However, Commerce does not discuss that the record contains the main material

inputs’ consumption data. Specifically, Finewood’s consumption quantities of [birch face veneer

and single poplar, eucalyptus, and acacia veneers, 2-ply, directly purchased core platforms from

Vietnam suppliers, UV coating] are actual data derived from production records; for the two-ply

sourced from China, the consumption data is based on Chengen’s data, as discussed above; for

the locally-tolled core veneer platforms, Finewood submitted the actual consumption data (other

than labor hours). Therefore, the only missing consumption data is Finewood’s auxiliary

materials, energy, labor, as well as Finewood’s local tollers’ labor consumption rates. See

Finewood SQR Part IV at 31-32.

       Chengen’s FOPs of auxiliary materials, energy, labor are suitable proxies for production

occurring in Vietnam. In particular, Finewood’s production process is similar to that of

Chengen’s, and both factories employ a “two-step” production process of plywood. See id. at Ex.


                                                42
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 49 of 54
                               NON-CONFIDENTIAL VERSION



SQ1-38 (Chengen’s production flowchart) and Finewood SQR Part I at Exhibit SQ1-8

(Finewood’s production flowchart).

       Additionally, Commerce criticized Finewood’s reported total cost of production in

Vietnam of being distorted because not all of Finewood’s plywood used two-ply panels from

China. Final Scope Ruling at 40. Finewood has addressed this concern prior to the Preliminary

Scope Ruling by removing the CONNUMs where 2-ply panels were not used, which changed

Finewood’s value-added percentage from 64.61% to 58.42%, which is still significant. See

Finewood Sur-Rebuttal Comments (May 13, 2021) at 14-15 & Exhibit SR-4, P.R.107, C.R.127;

Peer Bearing III, 128 F. Supp. 3d at 1296 (finding that 38% of the value-added supported a

finding of substantial transformation).

       Moreover, the Finewood U.S. sales list used by Commerce to derive the finished

plywood U.S. sales value [understates the actual U.S. prices]. See Finewood SQR Part I at 13 &

Exhibit SQ1-12, P.R.59, C.R.14-24. In this exhibit, the first two columns to the left following

the S/N number are “Exporters” and “Invoice Title.” Id. (Finewood [was not the only company

listed]). In the initial questionnaire response, Finewood reported its affiliated companies

including the [trading companies who invoiced Finewood’s U.S. customers] and their company

activities. See Finewood QR at Exhibit 3, P.R.26, C.R.3. In its supplemental questionnaire

response, Finewood further explained that [U.S. customers’ payments were made to one of the

trading company, Hongkong Fish Leap Trade Limited (“Fish Leap”), who then distributes to

Finewood and the other two trading companies, while keeping certain profits in Hong Kong].

See Finewood SQR Part I at 3. Therefore, the “Total Value USD” column in Exhibit SQ1-12 are

payments that Finewood received, as tied to Finewood’s books and records. However, these

USD values in Exhibit SQ1-12 [do not represent the actual U.S. sales value of Finewood’s


                                                43
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 50 of 54
                               NON-CONFIDENTIAL VERSION



plywood; instead, this is a portion of what was paid by the U.S. customers and declared as

Entered Value with Customs].

       In light of the above, Plaintiffs submit that the Court should find Commerce’s value-

added calculation unsupported by substantial evidence and arbitrary and capricious. The most

reasonable methodology to calculate Finwood’s value-added is the calculation provided in

Finewood’s supplemental questionnaire response, with a revision removing certain CONNUMs

of plywood that do not contain two-ply, lowering the Vietnam processing value-added to

58.42%.

               6. The Level of Investment Factor Weighs In Favor of Finding Substantial
                  Transformation.

       Commerce used Chengen’s data as a comparative reference; Plaintiffs concur. Final

Scope Ruling at 42-43; Prelim. Scope Ruling at 30-31. However, Commerce’s determination

that the “level of investment required to produce two-ply panels in China is greater than the level

of investment required to assemble the two-ply panels into finished plywood in Vietnam” is

unsupported by substantial evidence for the reasons below.

       In the proceeding before Commerce, Finewood analyzed its and Chengen’s capital

investment, equipment and machinery investment, cost of production, number of employees and

labor hours. See Finewood SQR – Part IV at 35-38 & Exhibit SQ1-42 (Summary – Level of

Investment Comparison). The comparison suggests that Finewood’s level of investment exceeds

Chengen’s investment in some aspects and is comparable to Chengen’s investment in others. Id.

Commerce refused to directly compare Chengen’s investment (approximately $[2.8] million)

with Finewood’s (approximately $[2.5] million). Prelim. Scope Ruling at 31. Instead,

Commerce derived an investment-to-sales amount for each company based on the sales volume


                                                44
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 51 of 54
                               NON-CONFIDENTIAL VERSION



of each for the months that Finewood operated, finding that Finewood’s investment amounts to

$[93.28]/m3 while Chengen’s amounts to $[139.36]/m3. See Prelim. Scope Ruling at 31.

       The Court should find this calculation unreasonable because the sales volume provides no

information on the true application of the companies’ investments without the companies’

capacity information. See DH Respondents Revised Cmts. at 41-42. Plaintiffs thus proposed a

more reasonable alternative by using only the sales volume of both companies’ busiest month.

Commerce calculated it to be Finewood – [$339.89]/M3 and Chengen – [$349.21]/M3, but still

rejected this approach, claiming “nothing is on the record to suggest that sales volume for the

highest sales month is in any way representative of production capacity.” Final Scope Ruling at

43. Commerce’s analysis is misplaced. Plaintiffs do not argue that the sales volume from the

highest sales month in fact represents the companies’ actual capacity, instead, Plaintiffs argue

that that sales volume represents the companies’ capacity more closely and is therefore a better

comparison.

       Commerce seemingly agreed with Finewood’s calculation of equipment and machinery

(i.e., Finewood – [$560,000] and Chengen – [$370,000]). See Prelim. Analysis Memo at Att. 5,

P.R.111, C.R.129-130. In the Preliminary Scope Ruling, Commerce did not separately analyze

“initial capital” and “equipment and machinery” as Finewood did, but instead grouped them

together into “total investment.” Id. Finewood does not object to this. With respect to number

of employees, Commerce used Finewood’s calculation of employees (i.e., Finewood – 127 to

184 employees, Chengen – 134 to 427 employees). Prelim. Scope Ruling at 31. Although

Commerce stated that on the higher end, Chengen’s employee number is more than twice as

much as Finewood’s, Commerce also does not dispute that the companies’ employee number on

the lower end is very comparable. Id. Commerce further agreed with that Finewood’s employee


                                                45
      Case 1:22-cv-00049-MAB Document 32-1               Filed 08/16/22     Page 52 of 54
                               NON-CONFIDENTIAL VERSION



range is somewhat understated because Finewood outsourced a substantial amount of core

platform production to local tollers while Chengen performed all production steps for all

hardwood plywood itself, but unreasonably found the employee numbers do not provide an

appropriate basis for comparison. Id. (citing Finewood’s SQR Part IV at 37).

       Thus, Commerce’s level of investment analysis in the Preliminary Scope Ruling entirely

hinged on the “investment per sales volume” comparison discussed above and was unchanged in

the Final Determination. Because the sales volume in the busiest months more closely resembles

the company’s production capacity, the Court should find Finewood-proposed investment

calculation (i.e., Finewood – [$339.89]/M3 and Chengen – [$349.21]/M3) more reasonable than

Commerce’s investment calculation (i.e., Finewood – [$93.28]/M3 and Chengen –

[$139.36]/M3).

       Critically, the test is whether Finewood’s plywood production is significant as compared

to Chengen’s, not whether Finewood’s plywood production is more significant than Chengen’s.

“Nowhere does Commerce state that in order to constitute a substantial transformation, the level

of investment for the processing of unfinished OCTG must be equal to or greater than the cost of

investing in a complete pipe mill.” Id. at 1296. As the Court has found, the level of investment

criterion cannot be evaluated in a vacuum, and it is reasonable for Commerce to compare the

investment of the third-country processor to investment of an integrated producer. Bell Supply V,

348 F. Supp. 3d at 1295-96. Thus, the proper question is whether Finewood’s level of

investment in Vietnam is significant as compared to Chengen’s investment, and the answer is

“yes.” As such, the “level of investment” criterion weighs in favor of finding substantial

transformation.




                                                46
      Case 1:22-cv-00049-MAB Document 32-1                 Filed 08/16/22        Page 53 of 54
                                NON-CONFIDENTIAL VERSION



         In this case, Commerce’s five criteria of the substantial transformation, viewed together,

weigh in favor of finding that substantial transformation occurred when Finewood produced

finished plywood from two-ply raw materials. Therefore, the Court should find that production

of the two-ply panels in Vietnam into hardwood plywood results in a substantial transformation,

and the proper country of origin of Finewood’s plywood is Vietnam.

   VI.      CONCLUSION

         For the foregoing reasons, Plaintiffs Finewood, FEA, and Liberty request that the Court

reverse Commerce’s scope determination issued in the Final Scope Ruling.


                                                      Respectfully submitted,


                                                      /s/ Gregory S. Menegaz

                                                      Gregory S. Menegaz
                                                      J. Kevin Horgan
                                                      Alexandra H. Salzman
                                                      Vivien Jinghui Wang
                                                      DEKIEFFER & HORGAN, PLLC
                                                      Suite 410
                                                      1090 Vermont Ave., N.W. 20005
                                                      Tel: (202) 783-6900
                                                      email: gmenegaz@dhlaw.com
                                                      Counsel to Plaintiffs Vietnam Finewood Company
                                                      Limited, Far East American, Inc., and Liberty
                                                      Woods International, Inc.
Date: August 15, 2022

                                                      * Admitted to California Bar; practice supervised by
                                                      attorneys of the firm who are active D.C. Bar
                                                      members pursuant to D.C. Bar Rule 49(c)(8).
                                                      ** Admitted to New Mexico Bar; practice limited to
                                                      Federal International Trade Matters pursuant to D.C.
                                                      Bar Rule 49(c)(2).




                                                 47
      Case 1:22-cv-00049-MAB Document 32-1                Filed 08/16/22     Page 54 of 54




                            Word Count Certificate of Compliance



       This brief has been prepared utilizing Microsoft Word 2021 using a proportionally spaced

typeface (12 point Times New Roman font).


       In accordance with this Court’s Scheduling Order and the Chambers Procedures of the

United States Court of International Trade, the undersigned certifies that his brief complies with

the word limitations set forth. Specifically, excluding those exempted portions of the brief, as set

forth in 2 B (1) of the Chambers Procedures, I hereby certify that this brief contains 13,968

words. In accordance with the Chambers Procedures, this certified word count is based on the

word count feature in the word processing system (Microsoft Word) used to prepare this brief.



                                              /s/ Gregory S. Menegaz

                                              Gregory S. Menegaz
                                              DEKIEFFER & HORGAN, PLLC
                                              Suite 410
                                              1090 Vermont Ave., N.W. 20005
                                              Tel: (202) 783-6900
                                              Fax: (202) 783-6909
                                              email: gmenegaz@dhlaw.com
                                              Counsel to Plaintiffs
